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          EXHIBIT 31
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               ALL STAFF
               Please find attached the following documents:

                  1.   AREA ASSIGNMENTS
                  2.   EARLY ACTION MEETING SCHEDULES
                  3.   EARLY ACTION READING SCHEDULES
                  4.   REGULAR ACTION MEETING SCHEDULES
                  5.   REGULAR ACTION READING SCHEDULES
                  6.   DOCKET / AREA PERSON / CHAIR COMPOSITION
                  7.   GEOGRAPHIC DESCRIPTION OF DOCKETS
                  8.   GREATER BOSTON SCHOOLS LIST w/ AREA PERSONS



                  IF CHANGES OCCUR,THEY WILL BE DATED ACCORDINGLY AFTER AUGUST 13th



                  THIS INFORMATION WILL ALSO BE POSTED ON THE INTRANET

                  IF ERRORS OF OMISSION /COMMISION ARE DETECTED ON ANY DOCUMENT,PLEASE NOTIFY DDM &
                  EBY ASAP




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                                   TRAVEL ASSIGNMENTS 2013-2014
         ALABAMA          CAW                                 MISSOURI            CSK
         ALASKA           JAF                                 MONTANA             IAN
         ARIZONA          DDM                                 NEBRASKA            MFE
         ARKANSAS         TMR                                 NEVADA              IAN
         CALIFORNIA       BPW/CSK/KAH/                        NEW HAMPSHIRE       MWM
                          LLO/NAJ Los Angeles                 NEW JERSEY          JRC/NAJ/MDD North 07
                          REB    San Diego                                        BPW/JRC/MDD South 08
                          GSC    Marin, North Bay,            NEW MEXICO          DDM
                                 San Francisco,               NEW YORK            CJL    Mid-Hudson, Utica
                                 San Mateo                                        MMS Albany
                          KPR/JWG Orange County                                   TJS    Western Long Island
                          MDD Monterey, South Bay                                 JAF    Buffalo, Rochester
                          KEC    Sacramento,                                      TMR    Binghamton, Ithaca,
                                 Santa Barbara                                          Syracuse
                                 San Joaquin Valley                               MDD Eastern LongIsland
                          RXB    East Bay Area                                    RXB    Rockland County,
         COLORADO         JWG                                                            Westchester County
         CONNECTICUT      CJL    Northern                     NEW YORK CITY       CGM/KAH/RXB
                          ICAH   Fairfield County             NORTH CAROLINA      BJG/CAW
                          CAW Southern                        NORTH DAKOTA        MFE
         DELAWARE         KAH                                 OHIO                JRC    Cincinnati, Columbus,
         D.C.             DLE                                                             Dayton
         FLORIDA          PFB    Broward County                                   CAW Akron, Canton,
                          BJG    Miami                                                   Cleveland, Toledo,
                          REB    Gainesville, Jacksonville,                              Warren
                                 Tallahassee                  OKLAHOMA            TMR
                          [
                          (LW    Orlando, Sarasota,           OREGON              JAF
                                 Tampa                        PENNSYLVANIA        MMS Central, Western
                          BJG    Palm Beach                                       GSC   Philadelphia
                          CAW Pensacola                                           TMR Northeastern
         GEORGIA          BPW/CAW                             RHODE ISLAND        MMS
         HAWAII           NAJ                                 SOUTH CAROLINA      CAW
         IDAHO            IAN                                 SOUTH DAKOTA        MFE
         ILLINOIS         MBS/TJS                             TENNESSEE           TMR    Memphis
         INDIANA          JRC                                                     REJ    Nashville
         IOWA             MFE                                 TEXAS               BJG   Dallas
         KANSAS           CSK    Lawrence & East                                  CJL    Austin, Midland
                          REB    West ofLawrence                                  LLO    Corpus Christi, El Paso,
         KENTUCKY         REB                                                           San Antonio
         LOUISIANA        KEC                                                     KLW Fort Worth
         MAINE            CAW                                                     REB    Galveston, Houston
         MARYLAND         DLE    D.C. Suburbs                 UTAH                IAN
                          ICAH                                VERMONT             JAF
         MASSACHUSSETTS   [(PR   Quincy                       VIRGINIA            CGM/KLW
                          DLE    Cambridge                    WASHINGTON          JAF    Eastern
                          JAF    North Shore                                      TMR    Seattle, Western
                          JLI   'Springfield, Western         WEST VIRGINIA       REB
                          KAY    Hingham, Old Colony          WISCONSIN           PFB
                          CAW Andover, Lowell                 WYOMING             IAN
                          HFS    Cape Cod, Southeastern       PUERTO RICO/VI      PFB
                          MWM Concord Lexington               CANADA              GSC    Toronto, Ottawa, Quebec
                                 Groton, Norfolk                                  MDD British Columbia
                          T.TS   Central, Worcester                                      Maritimes, Manitoba,
         GREATER BOSTON   DLE/ICPR/HFS/ICAV/MBS/SWH                                     Saskatchewan
         MICHIGAN         JAF    Eastern                      TRANSFERS
                          MFE    Central, Western                     CGM/DDM/RMG/RMW/RXB/WRF
         MINNESOTA        TMR                                 OVERSEAS            RMW with:
         MISSISSIPPI      TMR                                     BJG/JCP/JLI/JMK/JWG/KAV/ICLW/LLO/MFE/REPTIS



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                                                           EARLY ACTION MEETING SCHEDULE - CLASS OF 2018

                 Sat     16-Nov   E Docket - JMK                 P Docket - WRF                               S Docket - DDM       T Docket - MEM
                                  JAF, MFE, PFB,TMR              DLE, HFS, KAV, KPR, MBS, MVVM,SWH            BPW,JRC, MDD, NAJ    CGM, KAH, RXB

                 Mon     18-Nov   B Docket - MEM                 D Docket - RMG                               F Docket - KAH
                                  DDM, IAN, JAF, JWG,TMR         BJG,CJL, KLW, LLO, REB                       CAW,JRC, MBS,TJS

                 Tues 19-Nov      I Docket - DLE                 L Docket - KAV                               Z Docket - GSC
                                  CGM,DLE, KAH, KLW              CAW, DDM,JAF, JLI, MWM                       JWG, KEC, KPR, REB

                 Wed     20-Nov   H Docket - DLE                 K Docket - SVVH                              R Docket - DDM
                                  BJG, BPW,CAW,KEC               GSC, MMS,TMR                                 MDD, RXB,TJS

                 Thurs 21-Nov     J Docket - CGM                 U Docket - RMW
                                  CSK,JAF, REB, REJ, TMR         GSC, JLI. LLO. MDD. TJS

                 Fri     22-Nov   A Docket - DDM                 C Docket - SCD                               G Docket - CGM
                                  GSC, MDD, RXB                  BPW, CSK, KAH, LLO, NAJ                      BJG, KLW,PFB, REB

                 Sat     23-Nov   N Docket - SVVH                V Docket - RMW
                                  CAW, CJL, KAH, MMS,TJS         BJG, JCP, JLI, JMK,JWG, KAV, KLW, MFE, REJ

                 Mon     25-Nov   Overview - Athletics, General Review, and E P S
                 Tues    26-Nov   Overview - T B D
                 Wed     27-Nov
                 Thurs   28-Nov          Thanksgiving
                 Fri     29-Nov              Break
                 Sat     30-Nov
                 Mon      2-Dec   Overview - F I L
                 Tues     3-Dec   Overview -ZHK
                 Wed      4-Dec   Overview -RJU
                 Thurs    5-Dec   Overview - A C G
                 Fri      6-Dec   Overview - N V
ZELT0000AM




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                                   EARLY ACTION READING SCHEDULE - CLASS OF 2018

                      Date   Meetings Start      Prep Day    1st Reader to 3rd reader   All folders to Computer
                                                             10 am Sharp                10 am Sharp
          Mon         11-Nov                                 EPST
          Tues        12-Nov                                 BDFILZ
          Wed         13-Nov
          Thurs       14-Nov                                                            EPST
          Fri         15-Nov                       EPST       ACGHKR                    BDFILZ
          Sat         16-Nov EPST                  BDF        JU
          Mon         18-Nov B D F                 ILZ         NV                       H KR
          Tues        19-Nov I L Z                 H KR                                 JU
          Wed         20-Nov H K R                 JU                                   A CG
          Thurs       21-Nov J U                   ACG                                  NV
          Fri         22-Nov A C G                 NV
          Sat         23-Nov N V
          Mon         25-Nov Overview - Athletics, General Review, and E P S
          Tues        26-Nov Overview - T B D
          Wed         27-Nov
          Thurs       28-Nov     Thanksgiving
          Fri         29-Nov        Break
          Sat         30-Nov
          Mon          2-Dec Overview -FIL
          Tues         3-Dec Overview - Z H K
          Wed          4-Dec Overview - R J U
          Thurs        5-Dec Overview - A C G
          Fri          6-Dec Overview - N V

          Fri         13-Dec Emails & Letters Sent




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                                                            REGULAR ACTION MEETING SCHEDULE - CLASS OF 2018

                   Jan 22 - 25      E Docket - JMK                   P Docket - WRF                       S Docket - DDM       T Docket - MEM-
                                    JAF, MFE, PFB, TMR               DLE, HFS, KAV, KPR, MBS MVVM, SVVH   BPW,JRC, MDD, NAJ    CGM, KAH, RXB

                   Jan 28 - 31      B Docket - MEM                   D Docket - RMG                       F Docket - KAH
                                    DDM, IAN, JAF, JWG,TMR           BJG,CJL, KLW, LLO, REB               CAW,JRC, MBS, TJS

                   Feb 3 -6         I Docket - DLE                   L Docket - KAV                       Z Docket - GSC
                                    CGM, DLE, KAH, KLW               CAW, DDM,JAF, JLI, MVVM              JWG, KEC, KPR, REB
               1
                   Feb 8 - 12       H Docket - DLE                   K Docket - SVVH                      R Docket - DDM
                                    BJG, BPW,CAW,KEC                 GSC, MMS,TMR                         MDD, RXB, TJS

                Feb 14 - 18         J Docket - CGM                   U Docket - RMW
                _                   CSK, JAF, REB, REJ, TMR          GSC, JLI, LLO, MDD,TJS

                   Feb 20 - 24      A Docket - DDM                   C Docket - SCD                       G Docket - CGM
                                    GSC, MDD, RXB                    BPW,CSK, KAH, LLO, NAJ               BJG, KLW,PFB, REB

                   Feb 25 - Mar 1   V Docket - RMW
                                    BJG, JCP, JLI, JMK, JWG, KAV,KLW, MFE, REJ

                   Feb 26 - Mar 1   N Docket - SVVH
                                    CAW, CJI KAH, MMS TJS i

                   Mar 3            Athletics and General Overview
                   Mar 4            EP
                   Mar 5            ST
                   Mar 6            BD
                   Mar 7            Fl
                   Mar 8            LZ
                   Mar 10           HK
                   Mar 11           RJ
                   Mar 12           UA
                   Mar 13           CG
                   Mar 14           NV
                   Mar 15           Cleanup
                   Mar 17 - 19      Final Review
                   Mar 20 - 25      FAO Calcs

                   Mar 27           Emails & Letters Sent
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                                REGULAR ACTION READING SCHEDULE - CLASS OF 2018

                       Date     Meetings         Prep Day 1st Reader to 3rd reader   All folders to Computer
                                                          10 am Sharp                10 am Sharp
               Fri       17-Jan                           EPST
               Mon       20-Jan                                                      EPST
               Tues      21-Jan                  EPST       BDF
               Weds      22-Jan EPST
               Thurs     23-Jan EPST
               Fri       24-Jan EPST                                                 BDF
               Sat       25-Jan EPST
               Mon       27-Jan                  BDF
               Tues      28-Jan B D F                       ILZ
               Weds      29-Jan B D F
               Thurs     30-Jan B D F
               Fri       31-Jan B D F                                                ILZ
               Sat        1-Feb                  I LZ
               Mon        3-Feb I L Z                       HKR
               Tues       4-Feb I L Z
               Weds       5-Feb I L Z
               Thurs      6-Feb ILZ                                                  H KR
               Fri        7-Feb                  HKR        JU
               Sat        8-Feb H K R
               Mon       10-Feb H K R
               Tues      11-Feb H K R
               Weds      12-Feb H K R                                                JU
               Thurs     13-Feb                  JU
               Fri       14-Feb J U                         ACG
               Sat       15-Feb J U
               Mon       17-Feb J U                         V
               Tues      18-Feb J U                                                  ACG
               Weds      19-Feb                  ACG
               Thurs     20-Feb A C G                       N
               Fri       21-Feb A C G                                                V
               Sat       22-Feb A C G
               Mon       24-Feb A C G             V                                  N
               Tues      25-Feb V                 N
               Weds      26-Feb V N
               Thurs     27-Feb V N
               Fri       28-Feb V N
               Sat        1-Mar V N
               Mon        3-Mar Athletics and General Overview
               Tues       4-Mar E P
               Weds       5-Mar ST
               Thurs      6-Mar B D
               Fri        7-Mar F I
               Sat        8-Mar L Z
               Mon       10-Mar H K
               Tues      11-Mar R J
               Weds      12-Mar U A
               Thurs     13-Mar C G
               Fri       14-Mar NV
               Sat       15-Mar Cleanup
               Mon       17-Mar Final Review
               Tues      18-Mar Final Review
               Weds      19-Mar Final Review

               Thurs     27-Mar Emails & Letters Sent
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                             DOCKET - AREA PERSON AND CHAIR ASSIGNMENTS
                                              2013-2014

                       DOCKET   AREA PERSON                                 CHAIR
                       A        GSC, MDD, RXB                               DDM
                       B        DDM, IAN, JAF,JWG,TMR                       M EM
                       C        BPW, CSK, KAH, LLO, NAJ                     SCD
                       D        BJG, CJL, KLW, LLO, REB                     RMG
                       E        JAF, MFE, PFB,TMR                           JMK
                       F        CAW,JRC, MBS,TJS                            KAH
                       G        BJG, KLW, PFB, REB                          CGM
                       H        BJG, BPW,CAW, KEC                           DLE
                       I        CGM, DLE, KAH, KLW                          DLE
                       J        CSK,JAF, REB, REJ,TMR                       CGM
                       K        GSC, MMS,TMR                                SWH
                       L        CAW, DDM,JAF, JLI, MWM                      KAV
                       N        CAW, CJL, KAH, MMS,TJS                      SWH
                       P        DLE, HFS, KAV, KPR, MBS, MWM,SWH            WRF
                       R        MDD, RXB, TJS                               DDM
                       S        BPW,JRC, MDD, NAJ                           DDM
                       T        CGM, KAH, RXB                               M EM
                       U        GSC, JLI, LLO, MDD,TJS                      RMW
                       V        BJG,JCP, JLI, JMK,JWG, KAV, KLW, MFE, REJ   RMW
                       Z        JWG, KEC, KPR, REB                          GSC




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                                                         DOCKETS - 2013 - 2014

                    A   California            I   Delaware                                    S   New Jersey
                         - San Francisco          District of Columbia
                         - Bay Area               Maryland                                    T   New York City
                         - Monterey               Virginia
                                                                                              U   Australia
                    B   Alaska                J   Arkansas                                        Canada
                        Arizona                   Kansas                                          Caribbean
                        Colorado                  Kentucky                                        Ireland
                        Idaho                     Mississippi                                     Latin America
                        Montana                   Missouri                                        New Zealand
                        Nevada                    New York - Western                              South America
                        New Mexico                Oklahoma                                        U nited Kingdom
                        Oregon                    Tennessee
                        Utah                      West Virginia                               V   Africa
                        Washington                                                                Asia
                        Wyoming               K   New York - Upstate                              Europe
                                                  Pennsylvania
                    C   Greater Los Angeles                                                   Z   California
                        Guam 8c US Possesions L   Maine                                           - Orange County
                        Hawaii                    Massachusetts                                   - Sacramento
                                                  - Andover and Lowell                            - San Diego
                    D   Texas                     - North Shore                                   - San Joaquin Valley
                                                  - Western - Springfield and Berkshires          -Santa Barbara
                    E   Iowa                      New Hampshire
                        Michigan                  Vermont
                        Minnesota
                        Nebraska              N   Connecticut
                        North Dakota              Massachusetts - Central
                        South Dakota              New York
                        Wisconsin                 - Central
                1
                                                  - Eastern
                    F   Illinois                  - Mid-Hudson
                        Indiana                   Rhode Island
                        Ohio
                                              P   Massachusetts
                    G   Florida                   - Greater Boston
                        Puerto Rico               - South Shore
                        Virgin Islands            - Cape Code and Islands
                                                  - Southeastern - New Bedford, Fal l River
                    H   Alabama
                        Florida - Pensaco a   R   New York
                        Georgia                   - Long Island
                        Louisiana                 - Westchester County
                        North Carolina            - Rockland County
                        South Carolina                                                                                   _

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